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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE


VB ASSETS, LLC,

                        Plaintiff,

                 v.                                            C.A. No. 1:19-cv-1410-MN

AMAZON.COM, INC., AMAZON.COM LLC,
AMAZON WEB SERVICES, INC., A2Z
DEVELOPMENT CENTER, INC. d/b/a LAB126,
RAWLES LLC, AMZN MOBILE LLC, AMZN
MOBILE 2 LLC, AMAZON.COM SERVICES, INC.
f/k/a AMAZON FULFILLMENT SERVICES, INC.,
and AMAZON DIGITAL SERVICES LLC,

                        Defendants.


                                       STIPULATED ORDER


         IT IS HEREBY STIPULATED AND AGREED, subject to the approval and order of the

Court, that the following deadlines in the Scheduling Order are modified as follows:

 Event                               Current Deadline    New Deadline
 Plaintiff’s final infringement      July 23, 2021       August 27, 2021
 contentions
 Plaintiff’s final identification    July 23, 2021       August 27, 2021
 of accused products and
 Defendant’s identification of
 invalidity references
 Defendants’ final invalidity        August 24, 2021     September 28, 2021
 contentions
 Substantial completion of           August 27, 2021     September 24, 2021
 document production




{01706497;v1 }
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 WILSON SONSINI GOODRICH & ROSATI                 ASHBY & GEDDES

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                                                  Center, Inc. d/b/a Lab126, Rawles LLC,
                                                  AMZN Mobile LLC, AMZN Mobile 2
                                                  LLC, Amazon.com Services, Inc. f/k/a
                                                  Amazon Fulfillment Services, Inc., and
                                                  Amazon Digital Services LLC
         IT IS SO ORDERED this _______________ day of _______________ 2021.



                                          United States District Judge


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